
Green, J.
delivered the opinion of the court.
This is an action of covenant, brought by Marberry against McAlister, on the following instru'ment, viz:



I will pay the above debts for Samuel and Samuel M. Robinson for two negro boys, with interest and cost, when it was to be paid, and the boys delivered to me, this 26th January, 1843.
C. McAlister, [Seal.]
*427The defendant pleaded two pleas, to which the plaintiff demurred.
As the demurrer reached the first fault in pleading, the question is raised, whether Marberry can maintain an action for the sums which, in the memorandum in the covenant, appear to be due him from the Robinsons, and which McAlister bound himself to pay. In this case the covenant is made with the Robinsons; and McAlister engages with them, to pay for them, to the several persons mentioned in the memorandum, the sums therein stated. The covenant creates no obligation from McAlister to Marberry; but it is an undertaking to Samuel and Samuel M. Robinson, to pay Marberry for them the sum mentioned. Marberry has no legal interest created by this covenant, and he cannot, therefore, sue in his own name upon it. 1st Chitty, 3, 4.
The judgment must be reversed.
